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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF ALASKA AT ANCHORAGE

FREDERICK BULLOCK, RENEE BULLOCK
& JERICA BULLOCK,

                                   Plaintiffs,

v.

WELLS FARGO BANK, NA, WELLS FARGO                    Case No. 3:14-cv-________-___
BANK, ALASKA, NA, NATIONAL BANK OF
ALASKA, WELLS FARGO HOME
MORTGAGE, THE SECRETARY OF                                     NOTICE OF REMOVAL
VETERANS AFFAIRS, its Successors in Office
as Such, and/or Assigns, ALL OTHER
UNKNOWN DEFENDANTS,

                                 Defendants.

TO:    The United States District Court for the District of Alaska

AND TO:       Frederick Bullock
              Renee Bullock
              Jerica Bullock
              P.O. Box 1093
              Sterling, AK 99672

       Defendants Wells Fargo Bank, NA; Wells Fargo Bank, Alaska, NA; National Bank of
Alaska; and Wells Fargo Home Mortgage (collectively, the “Wells Fargo Defendants”) hereby
give notice of the removal of the above-captioned action, currently pending in the Superior Court
for the State of Alaska Third Judicial District at Kenai under Case No. 3KN-13-01038 CI, to the



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United States District Court for the District of Alaska. Removal is based on diversity of citizenship
under 28 U.S.C. §§ 1332 and 1441.
        As grounds for removal, Wells Fargo Defendants state as follows:
        1.      On or about December 6, 2013, Plaintiffs Frederick Bullock, Renee Bullock, and
Jerica Bullock (the “Plaintiffs”) filed, pro se, a “Complaint for Compensatory Damages, Punitive,
Damages, Civil Penalties Under Title AS 06 Consumer Protection and Other Relief” (the
“Complaint”) with the Clerk of the Superior Court for the State of Alaska in the Third Judicial
District at Kenai. [See Declaration of Michael B. Baylous (“Baylous Decl.”) ¶ 2, Ex. A.] The
Complaint names as Defendants “Wells Fargo Bank, NA”; “Wells Fargo Bank, Alaska, NA”;
“National Bank of Alaska”; “Wells Fargo Home Mortgage”; and “The Secretary of Veterans Affairs
its Successor in Office as Such.” [Id.] The Complaint was served upon Wells Fargo Bank, National
Association, through its registered agent Corporation Services Company, on December 23, 2013.
[Id.]
        2.      On information and belief, Plaintiffs are residents of Sterling, Alaska.
        3.      None of the Defendants are citizens of Alaska for diversity purposes.
        4.      Wells Fargo Bank, National Association, is a national banking association with its
main office in Sioux Falls, South Dakota. [Id. ¶ 3, Ex. B.] Thus, Wells Fargo is a citizen of
South Dakota for purpose of diversity jurisdiction. See 28 U.S.C. § 1348. Wachovia Bank v.
Schmidt, 546 U.S. 303, 318, 126 S. Ct. 941, 952 (2006) (ruling that a national banking
association is a citizen of the state designated in its articles of association as its main office).
        5.      In 2001, National Bank of Alaska merged into Wells Fargo Bank Alaska,
National Association. [Baylous Decl. ¶ 3, Ex B.] In 2003, Wells Fargo Bank Alaska, National
Association, merged into Wells Fargo Bank, National Association. [Id.] A company that merges
into another company adopts the citizenship of the merged company for diversity purposes. See
Meadows v. Bicrodyne Corp., 785 F.2d 670, 672 (9th Cir. 1986) (affirming that a California
corporation’s merger with a Delaware corporation changed the former’s citizenship because “the
separate existence of the disappearing corporations ceases” after a merger); see also Mireles v.
Wells Fargo Bank, N.A., 845 F. Supp. 2d 1034, 1046 n.75 (C.D. Cal. 2012). Thus, for the
purpose of determining diversity jurisdiction, National Bank of Alaska and Wells Fargo Bank
Alaska, National Association, are citizens of South Dakota.


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           6.          Wells Fargo Home Mortgage is a division of Wells Fargo Bank, National
Association, which is a citizen of South Dakota. [Baylous Decl. ¶ 3, Ex. B.]
           7.          The Secretary of Veterans Affairs (“Secretary”) is an officer of the federal
government and not a citizen of Alaska.
           8.          In the Complaint, Plaintiffs claim damages exceeding $100,000, exclusive of costs
and fees. [Baylous Decl. Ex. A at 14.]
           9.          Because there is complete diversity of citizenship among the parties, and because
the amount in controversy exceeds the jurisdictional minimum, this Court has jurisdiction over this
action pursuant to 28 U.S.C. § 1332. Accordingly, this action is removable to this Court pursuant
to 28 U.S.C. § 1441.
           10.         This Notice of Removal is timely under 28 U.S.C. § 1446(d), and will be served
upon Plaintiffs and filed promptly in the state court. [See Notice of Removal attached hereto.]
           11.         While the VA maintains Plaintiffs have not perfected service of the Complaint, the
VA consents to removal. [Baylous Decl. at ¶ 4. ]
           DATED this 17th day of January, 2014.
                                                     LANE POWELL LLC
                                                     Attorneys for Wells Fargo Bank, NA, Wells Fargo
                                                     Bank, Alaska, NA, National Bank of Alaska, and
                                                     Wells Fargo Home Mortgage

                                                     By s/ Michael B. Baylous
                                                        Michael J. Parise, ABA No. 7906044
                                                        Michael B. Baylous, ABA No. 0905022
I certify that on January 17, 2014, a copy of
the foregoing was served by mail on:

Frederick Bullock
Renee Bullock
Jerica Bullock
PO Box 1093
Sterling, AK 99672

By s/ Michael B. Baylous

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